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                        20-CV-8899 (CM)
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

                        THE CLEMENTINE COMPANY LLC, d/b/a THE
                        THEATER CENTER, PLAYERS THEATER
                        MANAGEMENT CORP, d/b/a THE PLAYERS
                        THEATER, WEST END ARTISTS COMPANY d/b/a
                        THE ACTORS TEMPLE, SOHO PLAYHOUSE, INC.,
                        d/b/a SOHO PLAYHOUSE, THE GENE FRANKEL
                        THEATRE L.L.C, TRIAD PROSCENIUM PARNERS,
                        INC., d/b/a THE TRIAD CARAL LTD. d/b/a
                        BROADWAY COMEDY CLUB, and DO YOU LIKE
                        COMEDY LLC, d/b/a NEW YORK COMEDY CLUB,

                                                                      Plaintiffs,
                                               -against-

                        ANDREW M. CUOMO, in his Official Capacity as
                        Governor of the State of New York, ATTORNEY
                        GENERAL OF THE STATE OF NEW YORK, BILL de
                        BLASIO, in his Official Capacity as Mayor of the City of
                        New York and THE STATE OF NEW YORK,

                                                                    Defendants.


                        DEFENDANT MAYOR BILL DE BLASIO’S SUR-
                        REPLY MEMORANDUM OF LAW IN FURTHER
                        OPPOSITION TO PLAINTIFFS’ MOTION FOR A
                        PRELIMINARY INJUNCTION


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                                   Of Counsel: Aimee K. Lulich
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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THE CLEMENTINE COMPANY LLC, d/b/a THE
THEATER CENTER, PLAYERS THEATER
MANAGEMENT CORP, d/b/a THE PLAYERS
THEATER, WEST END ARTISTS COMPANY d/b/a
THE ACTORS TEMPLE, SOHO PLAYHOUSE, INC.,
d/b/a SOHO PLAYHOUSE, THE GENE FRANKEL                                      20-CV-8899 (CM)
THEATRE L.L.C, TRIAD PROSCENIUM PARNERS,
INC., d/b/a THE TRIAD CARAL LTD. d/b/a
BROADWAY COMEDY CLUB, and DO YOU LIKE
COMEDY LLC, d/b/a NEW YORK COMEDY CLUB,

                                                           Plaintiffs,

                              -against-

ANDREW M. CUOMO, in his Official Capacity as
Governor of the State of New York, ATTORNEY
GENERAL OF THE STATE OF NEW YORK, BILL de
BLASIO, in his Official Capacity as Mayor of the City of
New York and THE STATE OF NEW YORK,

                                                           Defendants
----------------------------------------------------------------------- x

                 DEFENDANT MAYOR BILL DE BLASIO’S SUR-REPLY
                 MEMORANDUM OF LAW IN FURTHER OPPOSITION TO
                 PLAINTIFFS’ MOTION   FOR  A   PRELIMINARY
                 INJUNCTION

                 Pursuant to the Court Order dated December 11, 2020, Defendant Mayor Bill de

Blasio (“Mayor de Blasio”), by his attorney James E. Johnson, Corporation Counsel of the City

of New York, respectfully submits this memorandum of law in further opposition to plaintiffs’

motion for a preliminary injunction. Specifically, as the Court directed, defendant limits this

memorandum to discussion of the decision in Roman Catholic Diocese of Brooklyn v. Cuomo,

592 U.S. __ (2020) (“Diocese”), which was issued after defendant Mayor de Blasio’s opposition
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papers were filed and which, as set forth below, does not require the court to grant the instant

motion.

                Briefly, plaintiffs filed a motion for a preliminary injunction arguing that their

Equal Protection rights are violated by New York State Governor Andrew Cuomo’s (“Governor

Cuomo”) Executive Order No. 202.3 of March 16, 2020 (“Subject EO”) which requires theaters

to remain closed in order to prevent the transmission of COVID-19 while “restaurants, catering

halls, gyms, casinos, and shopping malls” are permitted to open. 1 See Memorandum of Law in

Support of Plaintiffs’ Motion for a Preliminary Injunction (“Pl. Mem.”) at pp. 2-3 and 12-13.

Plaintiffs argue that they are harmed financially by the Subject EO because they have been

unable to operate since March. See Reply Memorandum of Law (“Pl. Reply”) at pp. 15-18.

                In opposition, on November 20, 2020, Defendant Mayor de Blasio filed a

Memorandum of Law in Opposition to Plaintiffs’ Motion for a Preliminary Injunction (“de

Blasio Opp. Mem.”), the Declaration of Dr. Jay Varma (“Varma Decl.”), and the Declaration of

Aimee K. Lulich (“Lulich Decl.”) with exhibits. Mayor de Blasio opposed plaintiffs’ motion on

the grounds that (1) the Subject EO is an authorized use of state emergency power; and (2) the

Subject EO does not violate plaintiffs’ Equal Protection rights because plaintiffs failed to

identify any similarly-situated comparators and there is a rational basis for the continuing closure

of theaters. Defendants State, Governor Cuomo, and the Attorney General of the State of New

York also opposed plaintiffs’ motion by opposition papers dated November 20, 2020.

                Thereafter, on November 25, 2020, the Supreme Court issued the decision in

Diocese and its companion case Agudath Israel of America v. Cuomo, granting a preliminary

injunction which prevented the State from enforcing, as against the plaintiff religious institutions,


1
 As of December 14, 2020, and continuing to date, establishments in New York City may not offer indoor
dining.

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State EO No. 202.68 which capped attendance at religious services in zones in which

coronavirus transmission is elevated. Diocese, 592 U.S. at __. Specifically, applying strict

scrutiny to the Diocese plaintiffs’ First Amendment Free Exercise claim, the Supreme Court

found that the plaintiffs in those cases demonstrated a likelihood of success on the merits

because the restrictions were not “narrowly tailored” to the compelling government interest of

stemming the tide of COVID-19 infection. Id. Further, the Supreme Court found that the

restrictions caused irreparable harm by limiting in-person attendance to 10 or 25 people

regardless of the physical size of the house of worship, thereby preventing significant numbers of

people from attending in-person religious services, including religious rites, strictures, or

traditions that require in-person participation. Id. Finally, the Supreme Court found that the

public interest weighed in favor of granting the preliminary injunction because there was no

evidence that the plaintiffs had contributed to the spread of COVID, there were less restrictive

means of accomplishing the State’s goal than limiting in-person attendance to 10 or 25 people,

and the State had not demonstrated that a preliminary injunction would imperil the public health.

Id.

               On December 1, 2020, plaintiff filed a Reply to Mayor de Blasio’s and the State

Defendants’ opposition papers.      With regard to Diocese, plaintiffs argue that the decision

“reversed” or “overturned” South Bay Pentecostal Church v. Newsom, 140 S. Ct 1613 (2020)

(“South Bay”), one of the decisions upon which defendant relied in his opposition. Pl. Reply at

pp. 4-5 and 18-19. Additionally, plaintiffs allege that the Supreme Court distinguishes Jacobson

v. Massachusetts, 197 U.S. 11, 38 (1905) (“Jacobson”), upon which defendants also relied, from

the facts and claims at issue in Diocese.




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               On December 11, 2020, noting that the Diocese decision was issued after

defendants’ oppositions were filed, this Court issued an Order permitting defendants to submit

additional briefing limited to the implications of the decision in Diocese, including potential First

Amendment implications, by December 22, 2020, and permitting plaintiffs to respond by

January 8, 2020.

               Pursuant to the Court’s December 11, 2020 Order, defendant Mayor de Blasio

submits this memorandum of law in further opposition to the plaintiffs’ motion for a preliminary

injunction on the grounds that Diocese is not the appropriate controlling authority for the instant

motion because (A) Diocese is limited to a First Amendment Free Exercise claim, while the

instant motion is premised upon Equal Protection rights; (B) Diocese did not “overturn” South

Bay and Jacobson, which remain precedential in this matter; (C) even if plaintiffs had raised a

First Amendment claim, which they did not, Diocese would not render such a claim likely to

succeed on the merits.

                                          ARGUMENT

                         THE DECISION IN ROMAN CATHOLIC
                         DIOCESE     OF    BROOKLYN     IS
                         DISTINGUISHABLE FROM THE INSTANT
                         ACTION

               Plaintiffs argue that their Equal Protection rights are violated by the Subject EO,

resulting in financial loss. As described in Mayor de Blasio’s opposition papers, this argument

fails because plaintiffs are not likely to succeed on the merits of their Equal Protection claim and

the public interest does not weigh in their favor. The Diocese decision, based entirely on a First

Amendment Free Exercise analysis, is not applicable to the instant motion wherein plaintiffs

have made only an Equal Protection claim. Further, contrary to plaintiffs’ assertions, Diocese

did not “overturn” or “limit” the relevant legal standards as described in defendant’s opposition


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papers. Finally, even if this Court were to infer First Amendment claims here, the specific facts

and relevant law do not support granting plaintiffs’ motion for a preliminary injunction based

upon Diocese.

A.     The Decision In Diocese Does Not Control In This Action Premised On A Claim of
       Violation Of Plaintiffs’ Equal Protection Rights.

                Most significantly, the Diocese decision is specific to the First Amendment Free

Exercise claim raised by the Diocese plaintiffs. The Supreme Court makes clear that the Diocese

decision is fact-based and is rooted in the principles of Free Exercise. Diocese, 592 U.S. at __.

By contrast, the instant motion is premised on a claim of violation of plaintiffs’ Equal Protection

rights, a separate legal claim with its own legal standard and precedent. The Diocese decision

does nothing to change the legal analysis where plaintiffs seek an injunction on the basis of

alleged Equal Protection violations, and the Court should not violate the principle of party

presentation by imputing a First Amendment challenge on plaintiffs’ behalf. Because plaintiffs

have not raised a First Amendment challenge, and Diocese offers little to no guidance given the

very different claim, facts, and circumstances at issue here, plaintiffs’ motion must fail for the

reasons set forth in defendants’ opposition papers.

                It is generally accepted that the Courts must follow the principle of party

presentation. See United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020) (holding that

the Appeals Court abused its discretion where it ordered further briefing on a new claim not

raised by either party). Accordingly, the Courts “rely on the parties to frame the issues for

decision and assign to courts the role of neutral arbiter of matters the parties present.” Greenlaw

v. United States, 554 U. S. 237, 243 (2008); see also Castro v. United States, 540 U. S. 375, 386

(2003) (The judicial system “is designed around the premise that [parties represented by




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competent counsel] know what is best for them, and are responsible for advancing the facts and

argument entitling them to relief.”) (Scalia, J., concurring in part and concurring in judgment).

               Here, plaintiffs did not bring a First Amendment claim in the Complaint, did not

raise a First Amendment argument in the instant motion, and, even while directly addressing the

Diocese decision in the Reply, did not make any arguments arising out of the First Amendment.

In addition, plaintiffs claim that the Subject EO harms them financially. It is not clear what

plaintiffs would argue should they decide to raise a First Amendment challenge, since at no point

do plaintiffs raise any allegations related to speech, art, or expression. Rather, they allege that

they are suffering financial losses because the theaters must remain closed while some other

businesses may open. Accordingly, this Court should limit its decision to the Equal Protection

claim and arguments made in the motion pending before it.

               The Diocese decision, based on an analysis of the Free Exercise clause of the First

Amendment, offers little to no guidance in the instant matter. Because the Diocese plaintiffs

alleged that the challenged regulation burdened their religious exercise, and the Supreme Court

found that the challenged regulation did not treat houses of worship neutrally, the State’s EO was

subject to the exacting strict scrutiny standard. Diocese, 592 U.S. at __. Under strict scrutiny, a

regulation must be “narrowly tailored to a compelling government interest.” Id. In Diocese, the

Supreme Court applied the First Amendment’s strict scrutiny standard to find that the challenged

regulation was not “narrowly tailored” because less restrictive limitations were available. Id.

The Equal Protection clause, by contrast, does not place such a high burden on the challenged

regulation. First, unlike the Diocese plaintiffs, the plaintiffs in the instant matter must

demonstrate that they were treated differently from comparators to which they are similarly-

situated. See Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000). They have not done



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so. Second, the plaintiffs must demonstrate that there was “no rational basis” for the alleged

disparate treatment. Id. While the challenged regulation in Diocese needed to be “narrowly

tailored,” here the Subject EO carries “a presumption of rationality that can only be overcome by

a clear showing of arbitrariness and irrationality.” Concerned Home Care Providers, Inc. v.

Cuomo, 783 F.3d 77, 90–92 (2d Cir. 2015). The law applied in Diocese is not applicable to the

instant motion, and plaintiffs cannot demonstrate a likelihood of success on the merits of their

Equal Protection claim.

               The Supreme Court’s analysis of the irreparable harm and public interest prongs

in Diocese are equally inapplicable to the instant matter. In Diocese, the alleged irreparable

harm centered on the plaintiffs’ inability to practice religion, and, in particular, to participate in

sacraments and religious strictures that require personal attendance. Diocese, 592 U.S. at __.

Here, plaintiffs’ only identified harm is financial. Similarly, the Diocese decision identifies the

public interest as weighing against restrictions that “strike at the very heart of the First

Amendment’s guarantee of religious liberty” where less burdensome restrictions are available.

Id. Again, here, plaintiffs’ allegation of financial losses is weighed against the need to protect the

community from the transmission of COVID-19. The Diocese decision does not provide a basis

upon which this Court could find plaintiffs are irreparably harmed or that the public interest

weighs in their favor.

B.     The Diocese Decision Does not “Overturn” South Bay or “Limit” Jacobson.

               Plaintiffs allege in a conclusory manner that the Diocese decision “overturned”

the decision in South Bay and “limited” the decision in Jacobson. There is no support for either

contention. The Diocese decision accords with the decision in South Bay, in which the Supreme

Court found the challenged regulation to be content neutral and applied intermediate scrutiny in

declining to enjoin the challenged regulation. The Diocese and South Bay decisions do not
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contradict each other, and, in fact, demonstrate that the application of the strict scrutiny standard

in Diocese, as opposed to a less stringent intermediate scrutiny or rational basis review, was

likely determinative.

               Similarly, Diocese neither “limits” nor “overturns” Jacobson. Rather, like with

South Bay, Diocese and Jacobson address different claims and sets of facts, and apply different

standards, to reach, unsurprisingly, different results. As described in Justice Gorsuch’s

concurrence in Diocese, the Jacobson court applied rational basis review to the plaintiff’s Equal

Protection claim, whereas the Diocese court applied strict scrutiny to plaintiffs’ Free Exercise

claims. Indeed, the Jacobson decision, unlike Diocese, is precedential to the instant matter and

supports the denial of plaintiffs’ motion.

               Contrary to plaintiffs’ assertions, Diocese does not meaningfully “overturn” or

“limit” South Bay or Jacobson. Rather, the different outcomes are a result of the legal claims

brought by plaintiffs and the attendant legal standards which must be applied. Here, plaintiffs

cannot prevail in an Equal Protection claim, and their motion must be denied.

C.     Even If Plaintiffs Had Raised A First Amendment Claim, Diocese Would Not
       Render Such A Claim Likely To Succeed On The Merits.

               The only issue that was preliminarily analyzed in Diocese was the impact of a

State Executive Order (“EO 202.68”) on plaintiff religious institutions’ rights under the Free

Exercise clause of the First Amendment 2. See Diocese 592 U.S. at __. In Diocese, the Court first

found that plaintiffs had demonstrated a likelihood of success on the merits of their claim that

EO 202.68 violated “the minimum requirement of neutrality” to religion for purposes of a

temporary stay. Diocese, 592 U.S. at __. (citing Church of Lukumi Babalu Aye, Inc. v. Hialeah,
2
 Specifically, Diocese was an application for injunctive relief in which the Court enjoined
enforcement of EO 202.68’s 10 and 25-person occupancy limits on certain plaintiffs’ houses of
worship pending disposition of their appeal.


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508 U.S. 520, 533 (1993)). The Court found that the challenged restrictions “cannot be viewed

as neutral because they single out houses of worship for especially harsh treatment.” Diocese,

592 U.S. at __. The Diocese Court also considered a perceived lack of neutrality towards

religion due to public statements made in connection with EO 202.68. The Court noted that the

statements could be viewed as targeting the Orthodox Jewish community. Diocese, 592 U.S. at

__. Finding, on the preliminary record before them, that EO 202.68 was neither “neutral” nor

generally applicable as it specifically addressed religious activity, the Court applied strict

scrutiny to plaintiffs’ First Amendment claim. Diocese, 592 U.S. at __. The Court’s holding in

Diocese applies narrowly to claims raised under the Free Exercise Clause of the First

Amendment. Diocese, 592 U.S. at __ (citing Lukumi, 508 U.S. at 533). Diocese is not

applicable here.

               Plaintiffs are not, and do not claim to be, religious institutions or religious places

of worship. Importantly, Plaintiffs do not assert any claim that their First Amendment rights have

been violated, be it Free Exercise, Free Speech, or otherwise. Rather, Plaintiffs primarily contend

that the Subject EO violates their rights to Equal Protection under the Fourteenth Amendment,

resulting in financial harm because they cannot hold indoor public theater productions. As set

forth above, that claim must fail.

               Assuming arguendo that plaintiffs’ First Amendment right to Free Speech is

implicated by the Subject EO, as contemplated by this Court’s Order, plaintiffs still would not

prevail on that hypothetical claim under the long-standing principles for reviewing such claims,

which are separate and distinct from the Court’s analysis in Diocese.

               Under the traditional framework, a time, place, or manner restriction on speech or

expression will survive a constitutional challenge if it is content neutral, satisfies intermediate



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scrutiny, and leaves open ample alternative means for communication. City of Renton v.

Playtime Theaters, Inc., 475 U.S. 41, 46-48 (1986). The first step in a neutrality analysis is to

determine whether a law is neutral “on its face.” Reed v Town of Gilbert, 576 US 155, 165-166

(2015). This preliminary inquiry requires a court to consider whether a regulation of speech, on

its face, “draws distinctions based on the message a speaker conveys.” Id. at 163. The Subject

EO draws no such distinctions. The Subject EO applies to all theaters, regardless of the content

or message of any specific production. Since the Subject EO is neutral on its face, the remaining

inquiry is whether the Subject EO has an impermissible purpose. Id. at 165-166. A court must

determine whether “the government has adopted a regulation of speech because of disagreement

with the message it conveys.” Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989). “A

regulation that serves a purpose unrelated to the content of expression is deemed neutral, even if

it has an incidental effect on some speakers’ messages but not others.” Id. The Subject EO does

not have an impermissible purpose. The purpose of the Subject EO is to help reduce the

transmission of the COVID-19 virus. The Subject EO is content neutral.

               A content-neutral restriction will be constitutionally sound if it is narrowly

tailored to serve a significant government interest, and it leaves open ample alternative channels

of communication. Ward, 491 US at 791. As Diocese recognized, “stemming the spread of

COVID–19 is unquestionably a compelling interest.” Diocese, 592 U.S. at __. The Subject EO

is narrowly tailored to serve that interest. The purpose of the Subject EO is limiting the spread

of COVID-19. As detailed in Defendant Mayor de Blasio’s November 20, 2020 opposition, the

State’s objective would be achieved less effectively if theaters were permitted to reopen.

“The narrow tailoring requirement is satisfied so long as the regulation promotes a substantial

government interest that would be achieved less effectively absent the regulation[.]” Geller v



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Cuomo, No. 20-CV-4653 (ER), 2020 US Dist LEXIS 137863, at *28 (SDNY Aug. 3, 2020);

citing Hobbs v County of Westchester, 397 F3d 133, 149 (2d Cir 2005).

               Moreover, Plaintiffs are left open ample alternative methods of communication.

“The First Amendment does not guarantee the right to communicate one’s views at all times

and places and in any manner that may be desired.” Heffron v. Int’l Soc. For Krishna

Consciousness, Inc., 452 U.S. 640, 647 (1981). Plaintiffs are free to hold outdoor or virtual

performances. In fact, many performing arts institutions across the City are utilizing these

methods . 3 The law does not require that alternative methods of communication be perfect

substitutes. Intl. Action Ctr. v City of NY, 587 F3d 521, 528 (2d Cir 2009); see also

Mastrovincenzo v City of NY, 435 F3d 78, 101 (2d Cir 2006) (“The requirement that ‘ample

alternative channels’ exist does not imply that alternative channels must be perfect substitutes for

those channels denied to plaintiffs by the regulation at hand[.]”).

               The Subject EO is a content neutral time, place, or manner restriction which is

narrowly tailored to serve a compelling government interest of slowing the spread of a deadly

virus, and the Subject EO leaves open alternative methods of communication. Therefore, had

plaintiffs asserted a First Amendment Free Speech challenge, plaintiffs’ hypothetical claim

would be unlikely to succeed on the merits and, thus, would not support the issuance of the

preliminary injunction sought herein. The finding in Diocese applies narrowly to claims raised

under the Free Exercise Clause of the First Amendment and is not applicable to a hypothetical

Free Speech claim nor is it applicable to plaintiffs’ actual claim that the Subject EO violates their

rights to Equal Protection under the Fourteenth Amendment.




3
 See, e.g., Virtual NYC, NYC The Official Guide, available at https://www.nycgo.com/virtual-
nyc/, (last visited December 17, 2020).
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                                      CONCLUSION

               For the foregoing reasons, defendant Mayor Bill de Blasio respectfully requests

that this Court deny Plaintiffs’ motion for a preliminary injunction in its entirety, together with

such other and further relief as this Court deems just and proper.


Dated:         New York, New York
               December 22, 2020


                                              James E. Johnson
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                                              Attorney for Defendant Bill de Blasio
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Scali Riggs, Assistant Corporation Counsel
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  20-CV-8899 (CM)
  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

  THE CLEMENTINE COMPANY LLC, d/b/a THE THEATER
  CENTER, PLAYERS THEATER MANAGEMENT CORP, d/b/a THE
  PLAYERS THEATER, WEST END ARTISTS COMPANY d/b/a THE
  ACTORS TEMPLE, SOHO PLAYHOUSE, INC., d/b/a SOHO
  PLAYHOUSE, THE GENE FRANKEL THEATRE L.L.C, TRIAD
  PROSCENIUM PARNERS, INC., d/b/a THE TRIAD CARAL LTD.
  d/b/a BROADWAY COMEDY CLUB, and DO YOU LIKE COMEDY
  LLC, d/b/a NEW YORK COMEDY CLUB,
                                                                                                                       Plaintiffs,
                                                             -against-

  ANDREW M. CUOMO, in his Official Capacity as Governor of the
  State of New York, ATTORNEY GENERAL OF THE STATE OF
  NEW YORK, BILL de BLASIO, in his Official Capacity as Mayor of
  the City of New York and THE STATE OF NEW YORK,

                                                                                                                   Defendants.

  MEMORANDUM OF LAW BY DEFENDANT BILL DE BLASIO
  IN FURTHER OPPOSITION TO PLAINTIFFS’ MOTION FOR A
  PRELIMINARY INJUNCTION


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                                    On the Memorandum: Scali Riggs
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                                    Matter No.:


  Due and timely service is hereby admitted.

  New York, N.Y. ............................................................................................, 2020…...

   ............................................................................................................................. , Esq.

  Attorney for ...................................................................................................................
